       Case 1:22-cr-00015-APM          Document 186       Filed 07/08/22      Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA                     :
                                                 :
              v.                                 :    CRIMINAL NUMBER:
                                                 :
    ELMER STEWART RHODES III,                    :    22-cr-15-APM
    KELLY MEGGS,                                 :
    KENNETH HARRELSON,                           :
    JESSICA WATKINS,                             :
    ROBERTO MINUTA,                              :
    JOSEPH HACKETT,                              :
    DAVID MOERSCHEL,                             :
    THOMAS CALDWELL, and                         :
    EDWARD VALLEJO,                              :
                                                 :
             Defendants.                         :

                           OPPOSITION TO MOTION TO DISMISS

        The United States respectfully opposes the defendants’ 1 motion to dismiss the superseding

indictment (ECF No. 170). Although the motion claims that the superseding indictment should be

dismissed because of some sort of prosecutorial “misconduct” and/or because the grand jury was

“biased,” neither argument has any merit.

        The motion accuses the government of committing “misconduct” by asking the grand jury

to return a superseding indictment around the time that the House Select Committee to Investigate

the January 6th Attack on the United States Capitol was conducting public hearings. Mot. at 4-5.

But the defendants have not identified any authority indicating that the government commits

misconduct by obtaining an indictment in a case that has received extensive pretrial publicity.

Indeed, if that were the case, the government would be hamstrung in its ability to promptly indict

the most heinous and notorious crimes.



1
 The motion was filed by Defendants Minuta, Caldwell, Harrelson, Watkins, Moerschel, and
Meggs. Defendants Rhodes, Hackett, and Vallejo did not join.
       Case 1:22-cr-00015-APM            Document 186         Filed 07/08/22       Page 2 of 6




        Exposure to pretrial publicity can, in certain circumstances, disqualify people from serving

on a petit jury. Skilling v. United States, 561 U.S. 358, 381. This is because “[t]he theory of our

trial system is that the conclusions to be reached in a case will be induced only by evidence and

argument in open court, and not by any outside influence, whether of private talk or public print.”

Id. at 378 (brackets omitted) (quoting Patterson v. Colorado ex rel. Attorney General of Colo., 205

U.S. 454, 462 (1907)). But even petit jurors “need not enter the box with empty heads in order to

determine the facts impartially.” Id. at 398. “It is sufficient if [a] juror can lay aside his impression

or opinion and render a verdict based on the evidence presented in court.” Irvin v. Dowd, 366 U.S.

717, 723 (1961).

        In contrast to the petit jury, which must reach its decision based solely on the evidence

admitted in court, the grand jury is not limited to considering evidence that would be admissible

at trial. Thus, the grand jury may consider a defendant’s admissions that are “incompetent” based

on “duress,” Holt v. United States, 218 U.S. 245, 249, 252 (1910), as well as hearsay, Costello v.

United States, 350 U.S. 359, 363 (1956). The Supreme Court has soundly rejected the notion that

indictments may be “held open to challenge on the ground that there was inadequate or

incompetent evidence before the grand jury.” Costello, 350 U.S. at 363. Instead, “[an] indictment

returned by a legally constituted and unbiased grand jury . . . , if valid on its face, is enough to call

for trial of the charge on the merits.” Id.

        In part because of this broad latitude given to the grand jury, the Supreme Court has never

held that an indictment must be set aside based on grand jurors’ exposure to pretrial publicity.

Indeed, in Beck v. Washington, 369 U.S. 541, 548-49 (1962), the Court rejected a claim that “the

grand jury was biased,” even though the defendant had testified before a highly publicized Senate

committee hearing and had invoked his Fifth Amendment right to remain silent. In Beck, the



                                                   2
       Case 1:22-cr-00015-APM            Document 186         Filed 07/08/22       Page 3 of 6




defendant’s “appearance before the Senate Committee was current news of high national interest”

and was “widely publicized throughout the Nation” and locally. Id. at 546. And the grand jurors

were not specifically admonished “to disregard or disbelieve news reports and publicity

concerning” the defendant.” Id. at 548. The Supreme Court determined that the defendant had

“failed to show that the body which indicted him was biased or prejudiced against him.” Id. at

549.

        The Ninth Circuit also rejected a claim of grand jury bias in Silverthorne v. United States,

400 F.2d 627, 631 (9th Cir. 1968), another case involving a defendant who was the subject of a

Senate committee hearing with “particularly adverse” publicity. In rejecting the defendant’s claim,

the court observed that any “illegality the Senate committee uncovers cannot become forbidden

fruit of the grand jury’s consideration merely because in the process of uncovering, prejudice to

the perpetrator may accrue.” Id. at 634. Thus, there was no evidence that the “grand jury was

motivated by facts or circumstances other than those which were presented to it.” Id. The court

explained that its conclusion that the defendant suffered no prejudice was “further supported by

the fact that the grand jury deliberates and indicts, as an accusing body, on the standard of

‘reasonable probability’ that a crime has been committed by some person.” Id. A grand jury “is

not a trial body” and “[t]he quantum of evidence necessary to indict is not as great as that necessary

to convict.” Id. The court reasoned that, “[i]f a grand jury is prejudiced by outside sources when

in fact there is insufficient evidence to indict, the greatest safeguard to the liberty of the accused is

the petit jury and the rules governing its determination of a defendant’s guilt or innocence.” Id.

        Beck and Silverthorne demonstrate that the defendants’ claims here are unavailing. In both

of those cases, the defendant himself was the subject of the congressional hearing. Here, by

contrast, the Select Committee’s hearings are far broader than the actions of any particular



                                                   3
       Case 1:22-cr-00015-APM             Document 186      Filed 07/08/22      Page 4 of 6




individual. Indeed, the six defendants seeking dismissal have not even alleged that they were

mentioned by name during the Select Committee’s hearings. The mere fact that there is overlap

between the subject of the Select Committee’s investigation and the grand jury’s investigation

does not mean that the grand jury is precluded from considering evidence or adding charges against

these defendants. And, as Silverthorne explained, any possibility that the grand jury was affected

by adverse publicity can be adequately addressed by the safeguard of a trial by an impartial petit

jury. Cf. June 28, 2022 Mem. Op. and Order at 43 (ECF No. 176) (“To be sure, news coverage of

the events of January 6th has been extensive locally. But ‘[p]rominence does not necessarily

produce prejudice, and juror impartiality . . . does not require ignorance.’”) (quoting Skilling, 561

U.S. at 381) (alterations in original).

        Moreover, the superseding indictment was returned by same grand jury that has been

empaneled since January 8, 2021, and that returned a total of nine indictments in the Crowl case,

21-cr-28, and two in the present Rhodes case, 22-cr-15. The fact that the grand jury returned the

original indictment in this case in January 2022, and that the superseding indictment did not add

any new defendants or counts, means that the grand jury, by definition, could not have been

influenced—let alone improperly biased—by the congressional hearings in June 2022.

        Nor did the government commit “misconduct” by seeking the superseding indictment when

it did. A court’s “supervisory power can be used to dismiss an indictment because of misconduct

before the grand jury, at least where that misconduct amounts to a violation of one of those few,

clear rules which were carefully drafted and approved by [the Supreme] Court and by Congress to

ensure the integrity of the grand jury’s functions.” United States v. Williams, 504 U.S. 36, 46

(1992) (internal citation and quotation marks omitted). But the defendants cannot point to any rule

that prohibits the government from presenting evidence to a grand jury that may have been exposed



                                                 4
       Case 1:22-cr-00015-APM           Document 186         Filed 07/08/22      Page 5 of 6




to publicity about the crime.

       In United States v. Ethan Nordean, 21-cr-175 (TJK), another case involving the attack on

the Capitol, Judge Kelly rejected those defendants’ contention that the government somehow

“delayed the return of the most recent indictment to coincide with the Committee’s hearings.”

June 24, 2022 Mem. Order (ECF No. 419) at 3 n.3. As Judge Kelly pointed out, “the publicity

generated by the hearings hardly appears to have turned on the precise charges pending against

Defendants.” Id. The same is true here: nothing about the Committee’s hearings relates to the

grand jury’s decision to supersede the indictment to (1) add a theory of liability about the purpose

of the seditious conspiracy in paragraphs 15 and 16, (2) add a theory of liability to the charge

against Stewart Rhodes under 18 U.S.C. § 1512(c)(1) in paragraph 148, or (3) remove two

defendants (Joshua James and Brian Ulrich) who have pleaded guilty.

       The defendants’ motion claims that the government’s June 21, 2022, consent to continue

trial in Nordean is a “concession” that the government “recognizes there is unfair prejudicial [sic]

in the District of Columbia juror pool that can only be addressed after the Committee hearings

have been concluded.” Mot. at 4. Not so. As explained in that pleading, the government was

concerned about the release of information during the trial, after jeopardy had attached, as it

related to the parties’ ability to incorporate that information into their trial presentations. The

government has never conceded that the jury pool in the District of Columbia is biased.

       Finally, the defendants rely heavily on United States v. Delaney, 199 F.2d 107, 113 (1st

Cir. 1952), Mot. at 2-3, but that case concerned a trial court’s failure to grant a trial continuance;

it had nothing to do with grand jury proceedings. See 5/17/22 Tr. at 109 (The Court: “The holding

[in Delaney] was there’s an abuse of discretion for the trial judge not to continue the case in light

a congressional hearing, correct? . . . It didn’t have anything to do with . . . a venue transfer.”).



                                                  5
       Case 1:22-cr-00015-APM           Document 186         Filed 07/08/22       Page 6 of 6




And in the context of prosecutions arising out of Watergate, the D.C. Circuit both distinguished

Delaney and found that “decisions by the Supreme Court subsequent to Delaney” counseled

against the D.C. Circuit exercising its unique “supervisory power” to insist that the trial court grant

the defendants’ requests for a continuance or change of venue. United States v. Haldeman, 559

F.2d 31, 63 n.40 (D.C. Cir. 1976) (en banc) (per curiam).

       There is no basis to dismiss the superseding indictment. The government therefore

respectfully requests that the Court deny the defendants’ motion.

                                               Respectfully submitted,

                                               MATTHEW M. GRAVES
                                               UNITED STATES ATTORNEY
                                               D.C. Bar Number 481052

                                       By:           /s/
                                               Jeffrey S. Nestler
                                               Assistant United States Attorney
                                               D.C. Bar No. 978296
                                               Ahmed M. Baset
                                               Troy A. Edwards, Jr.
                                               Louis Manzo
                                               Kathryn Rakoczy
                                               Assistant United States Attorneys
                                               U.S. Attorney’s Office for the District of Columbia
                                               601 D Street NW
                                               Washington, D.C. 20530

                                                         /s/
                                               Justin Sher
                                               Alexandra Hughes
                                               Trial Attorneys
                                               National Security Division,
                                               United States Department of Justice
                                               950 Pennsylvania Avenue NW
                                               Washington, D.C. 20004




                                                  6
